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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00782-CV




IN RE RUBEN S. MARTIN III, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Ruben S. Martin III, seeks
mandamus relief ordering the trial court to dismiss the derivative claims from the
original petition.  Alternatively, he seeks dismissal of the entire suit.    
We deny the petition for writ of mandamus.
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Per Curiam
&nbsp;
Panel consists of Justices Taft, Keyes, and Alcala.       


